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                            THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     (Northern Division)


    CITY OF ANNAPOLIS, MARYLAND,

                   Plaintiff,
                                                           Civil Action No. 1:21-cv-00772-ELH
    v.

    BP P.L.C., et al.,

                   Defendants.


                  DEFENDANT AMERICAN PETROLEUM INSTITUTE’S
               DISCLOSURE OF AFFILIATIONS AND FINANCIAL INTEREST

          Defendant American Petroleum Institute (“API”), by undersigned counsel and pursuant to

Federal Rule of Civil Procedure 7.1 and Local Rule 103.3, files this Disclosure of Affiliations and

Financial Interest and states:

          American Petroleum Institute has no parent corporation and no publicly held corporation

owns 10 percent or more of its stock.1


Dated: April 8, 2021                          Respectfully submitted,

                                              /s/ Melissa O. Martinez
                                              Ava E. Lias-Booker (Fed. Bar No. 05022)
                                              Melissa O. Martinez (Fed. Bar No. 28975)
                                              MCGUIREWOODS LLP
                                              500 East Pratt Street
                                              Suite 1000
                                              Baltimore, Maryland 21202-3169
                                              Telephone: (410) 659-4400
                                              Fax: (410) 659-4599
                                              alias-booker@mcguirewoods.com
                                              mmartinez@mcguirewoods.com

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 This disclosure is not an admission of any factual allegation or legal conclusion or a waiver of
any rights, defenses, or objections, including venue, service, or personal jurisdiction.
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                           Brian D. Schmalzbach (pro hac vice forthcoming)
                           MCGUIREWOODS LLP
                           800 East Canal Street
                           Richmond, VA 23219
                           Telephone: (804) 775-4176
                           Fax: (804) 698-2304
                           bschmalzbach@mcguirewoods.com

                           Andrew G. McBride (pro hac vice forthcoming)
                           MCGUIREWOODS LLP
                           888 16th Street N.W.
                           Suite 500
                           Black Lives Matter Plaza
                           Washington, DC 20006
                           Telephone: (202) 857-2487
                           Fax: (202) 828-2987
                           amcbride@mcguirewoods.com

                           Counsel for Defendant
                           American Petroleum Institute




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 8, 2021, a copy of the foregoing Defendant American

Petroleum Institute’s Disclosure of Affiliations and Financial Interest was electronically filed and

served on all counsel of record via the Court’s CM/ECF system.




                                              /s/ Melissa O. Martinez
                                              Melissa O. Martinez




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